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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DOLLAR PLUS & BEAUTY, INC.      :                 CIVIL ACTION
                                :
     v.                         :
                                :
OHIO SECURITY INSURANCE COMPANY :                 NO. 21-3135

                                        ORDER

      NOW, this 26th day of October, 2021, the issues between the parties having been

resolved, it is ORDERED that this action is DISMISSED WITH PREJUDICE, without

costs, pursuant to the agreement of counsel and Local Rule 41.1(b).




                                              /s/ TIMOTHY J. SAVAGE J.
